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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   WALTINE NAUTA and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/


                            THE UNITED STATES’ OPPOSITION
                          TO MOTION FOR LEAVE TO INTERVENE

          The United States respectfully submits this Opposition to President-elect Trump’s Motion

   for Leave to Intervene, ECF No. 681. President-elect Trump seeks to intervene in this dismissed

   criminal prosecution in order to join the emergency motion of Defendants Waltine Nauta and

   Carlos de Oliveira, in which they seek to restrict access to the Final Report that Special Counsel

   Jack Smith recently submitted to the Attorney General pursuant to Justice Department regulations.

   See 28 C.F.R. § 600.8(c).1

          As this Court is aware, the Final Report addressed in the Motion for Leave to Intervene

   comprises two volumes. Volume One of the Final Report concerns the Special Counsel’s

   investigation and prosecution relating to the 2020 presidential election in Washington, D.C.

   (Election Case), and Volume Two concerns the Special Counsel’s investigation and prosecution of




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             The Eleventh Circuit denied Defendants’ requests for the same relief. Order 2, United
   States v. Nauta, No. 24-12311 (11th Cir. Jan. 9, 2025) (Order Denying Emergency Inj.).
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   Defendants Nauta and Oliveira, as well as President-elect Trump, relating to the mishandling of

   classified documents (Classified Documents Case).

          Since President-elect Trump submitted his Motion for Leave to Intervene, this Court has

   denied Defendants’ motion for emergency relief as to Volume One. See Order, ECF No. 697.

   Additionally, as the Court has noted, the Department of Justice has agreed that the Attorney

   General should not release Volume Two to the public while Defendants’ criminal cases remain

   pending. See id. Accordingly, the sole issue still pending before this Court—and therefore the

   sole issue on which any intervention must focus—is the question of whether the Court should

   enjoin the Attorney General from allowing the Chairmen and Ranking Members of the Senate and

   House Judiciary Committees to review Volume Two in camera, under conditions designed to

   protect against any material risk of prejudice to the remaining criminal defendants. See ECF No.

   703 at 4 (describing those conditions).

          The case law provides for intervention in criminal cases only in limited circumstances.

   Some cases limit intervention to situations in which a third party’s constitutional or other federal

   rights are implicated by the resolution of a particular motion raised in the case, while others look

   to whether a would-be intervenor has a legitimate interest that he cannot protect without becoming

   a party. Neither standard can be satisfied here—the Motion for Leave to Intervene identifies no

   constitutional or other federal right that could justify intervention in this case. Nor can the

   President-elect establish that he cannot protect his rights without becoming a party to this action.

          Accordingly, this Court should deny the Motion for Leave to Intervene.

                                         ARGUMENT

          “Various courts have observed that the Federal Rules of Criminal Procedure do not provide

   for third-party intervention in criminal cases.” United States v. Atesiano, 2018 WL 5831092, at *2



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   (S.D. Fla. Nov. 7, 2018) (citing United States v. Aref, 533 F.3d 72, 81 (2d Cir. 2008); United States

   v. Kollintzas, 501 F.3d 796, 800 (7th Cir. 2007)); see also United States v. Chin, 913 F.3d 251, 255

   (1st Cir. 2019) (“[T]he right of a non-party to intervene in a criminal proceeding is doubtful.”)

   (quoting In re Globe Newspaper Co., 920 F.2d 88, 90 (1st Cir. 1990)).2

          “Intervention in criminal cases is generally limited to those instances in which a third

   party’s constitutional or other federal rights are implicated by the resolution of a particular motion,

   request, or other issue during the course of a criminal case.” Atesiano, 2018 WL 5831092, at *2

   (quoting United States v. Carmichael, 342 F. Supp. 2d 1070, 1072 (M.D. Ala. 2004)). The Motion

   for Leave to Intervene acknowledges this standard, see Mot. at 2, and quotes a second standard

   articulated by the Seventh Circuit in United States v. Blagojevich, 612 F.3d 558 (7th Cir. 2010),

   i.e. that “courts have permitted intervention when the potential intervenor has a legitimate interest

   in the outcome and cannot protect that interest without becoming a party.” Mot. at 3 (quoting

   same). This case presents neither circumstance.

      A. The Motion as to Which President-Elect Trump Seeks to Intervene Does Not
         Implicate His Constitutional or Other Federal Rights.

          To begin, this is not a case in which the President-elect’s “constitutional or other federal

   rights are implicated by the resolution of a particular motion, request, or other issue during the

   course of a criminal case.” Atesiano, 2018 WL 5831092, at *2 (quoting Carmichael, 342 F. Supp.

   2d at 1072). Typically, intervention under this standard is permitted where the granting of a motion

   in a criminal case would infringe on a third party’s constitutional rights:

          For example, courts sometimes permit the press to intervene in a criminal case
          where a decision to close criminal proceedings to the public may affect its First


          2
             Federal Rule of Civil Procedure 24 does not apply, by its own terms, to criminal cases.
   Accordingly, the reliance, in the Motion for Leave to Intervene, on Georgia v. U.S. Army Corps
   of Eng’rs, 302 F.3d 1242 (11th Cir. 2002), is misplaced. That case addressed “intervention as a
   matter of right” in a civil suit, id. at 1249; it has no application here.
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          Amendment rights. See, e.g., United States v. Hernandez, 124 F. Supp. 2d 698, 701
          (S.D. Fla. 2000); United States v. Baez–Alcaino, 718 F. Supp. 1503 (M.D. Fla.
          1989); United States v. Torres, 602 F.Supp. 1458, 1462 (N.D. Ill. 1985). In addition,
          third parties are occasionally allowed to intervene in a criminal trial to challenge a
          request for the production of documents on the ground of privilege, see, e.g., United
          States v. Bergonzi, 216 F.R.D. 487 (N.D. Cal. 2003); In Re Grand Jury Investigation
          No. 83–30557, 575 F. Supp. 777 (N.D. Ga. 1983), or to protect other rights
          implicated by a particular proceeding. See, e.g., Gravel v. United States, 408 U.S.
          606, (1972) (noting that district court allowed Senator’s motion to intervene to
          quash grand jury subpoenas of witnesses whose testimony implicated his privilege
          under the Speech or Debate Clause of the Constitution).

   Atesiano, 2018 WL 5831092, at *2 (Carmichael, 342 F. Supp. 2d at 1072). But that is not the

   situation here. The action the President-elect seeks to block is not part of this case. Neither further

   proceedings in this case nor the relief sought by Defendants threatens the President-elect’s

   interests. To the contrary, the President-elect supports the relief sought by Defendants. Indeed,

   intervention is unnecessary here, as the Defendants in the case are seeking the identical relief on

   which the intervention is predicated. If the President-elect seeks to prevent the Chairmen and

   Ranking Members of the House and Senate Judiciary Committees from being permitted limited

   access to Volume Two of the Final Report, he could file his own civil action requesting that relief.

          In fact, the Carmichael case relied on by President-elect Trump rejected intervention in an

   analogous situation to that presented here. In that case, a DEA agent hoped to prevent the criminal

   defendant from displaying the agent’s picture on a website.             The prosecution had itself

   (unsuccessfully) sought an order requiring the defendant to take down the site. Thus, like here, a

   third party sought to benefit from a motion filed in a criminal case. The Court rejected intervention,

   explaining that:

          Any interest [Agent] DeJohn has in the website’s removal is not based on a legal
          entitlement specifically belonging to him in Carmichael's criminal case. Rather, his
          motion to intervene is an effort to resolve what is essentially a private dispute based,
          if anything, on state law. DeJohn’s allegation, that the website is not only interfering
          with his ability to pursue his profession as an undercover agent, it is putting him
          danger, may very well be actionable under Alabama law. However, intervening in

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          Carmichael's federal criminal case is not an appropriate manner in which to seek
          redress for his perceived wrong; DeJohn’s appropriate forum is, if anywhere, in
          state court.

   Carmichael, 342 F. Supp. 2d at 1072–73. The Court noted further that “[a] criminal case is not the

   proper channel for a nonparty to resolve a collateral civil dispute with a criminal defendant. Id. at

   1073. The same is true of a third party’s attempt to resolve a collateral civil dispute with the

   government.

          In any event, the actions by the government that the Defendants seek to enjoin do not

   implicate any constitutional or other federal right of the President-elect. The Motion for Leave to

   Intervene relies wholly on the Presidential Transition Act’s “promise[]” of “a smooth Presidential

   transition” as the basis for the proposed intervention. Mot. at 3. But the Motion fails to establish

   any infringement of any right set forth in the Act.

          The Presidential Transition Act of 1963 “authorizes funding for the General Services

   Administration (GSA) to provide suitable office space, staff compensation, and other services

   associated with the presidential transition process.” Congressional Research Service, Presidential

   Transition    Act:   Provisions    and   Funding,     updated    May     22,   2024,    available   at

   https://crsreports.congress.gov/product/pdf/R/R46602; see generally Pub. L. No. 88–277, 78 Stat.

   153 (1964) (codified as amended at 3 U.S.C. § 102 note). The Act contains no private right of

   action. Indeed, the portion of the Act invoked in the letter from counsel for the President-elect

   (see ECF No. 679, Ex. A at 4)—which the Motion for Leave to Intervene incorporates by reference,

   Mot. at 1—does not even impose binding restrictions. Section 2 provides merely that “it is the

   intent of the Congress that” federal officers “promote orderly transitions in the office of President.”

   3 U.S.C. § 102 note (emphasis added) (Section 2 of the Presidential Transition Act).




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          Moreover, the President-elect could not show that release of the Final Report would be

   contrary to the Act even if it were enforceable. The Motion for Leave to Intervene asserts that

   “[i]ssuance and public release of the Report” would have the effect of “disrupting and interfering

   with President Trump’s transition efforts and harming the institution of the Presidency,” Mot. at 5,

   but the Motion does not specify what the disruption and interference might be. The letter from

   counsel for President-elect Trump to the Attorney General asserts that releasing the Special

   Counsel’s report to the public would “giv[e] rise to a media storm of false and unfair criticism that

   President Trump would be required to address while preparing to assume his Article II

   responsibilities,” ECF No. 679, Ex. A at 4, and further characterizes the Final Report as “an

   obvious effort to interfere with upcoming confirmation hearings.” Id. at 5. But the Attorney

   General has already decided not to release Volume Two publicly while Defendants’ case remains

   pending. Thus, predictions of harm resulting from a release to the general public are beside the

   point. The Motion provides no reason to believe that a provision of the Presidential Transition Act

   could not be carried out—or would be rendered more difficult to implement—due to the proposed

   in camera review of Volume Two of the Final Report by the Chairmen and Ranking Members of

   the House and Senate Judiciary Committees.

          The letter from counsel for the President also invokes the Appointments Clause and the

   Appropriations Clause, as well as the Special Counsel Regulations. See ECF No. 679, Ex. A at 3-

   4. But as the government explained in its opposition to Defendants’ motion to extend the

   temporary injunction (ECF No. 690), these arguments are no longer even relevant now that the

   Special Counsel has completed his report and transmitted it to the Attorney General. All that is

   left is for the Attorney General to determine how to handle that report, and his authority in this

   respect is clear. ECF No. 690 at 8-10.



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          Finally, the letter from counsel for the President-elect asserts that release of the Final

   Report would violate “Presidential immunity principles.” ECF No. 679, Ex. A at 5. Any argument

   that Trump’s status as President-elect immunizes him against release of the report cannot be

   squared with the United States Supreme Court’s recent rejection of an even less expansive

   argument from the President-elect—that immunity principles precluded him from being sentenced

   in a state court criminal matter. See Trump v. New York, No. 24A666, 2025 WL 52691, at *1 (Jan.

   9, 2025) (noting that “the burden that sentencing will impose on the President-Elect’s

   responsibilities is relatively insubstantial”).    The President-elect cites no authority for the

   proposition that immunity shields the President-elect from the mere review, by the Chairmen and

   Ranking Members of the Department’s committees of jurisdiction, of a report regarding his

   conduct.

          Indeed, concluding that principles of presidential immunity prohibit the investigation of

   presidential conduct or reporting on that conduct would be a significant and unprecedented

   extension of the doctrine. Prior special counsels have investigated the conduct of sitting Presidents

   and released reports setting forth their findings. See Robert S. Mueller, III, Report on the

   Investigation into Russian Interference in the 2016 Presidential Election (Mar. 2019); Robert K.

   Hur, Report on the Investigation into Unauthorized Removal, Retention, and Disclosure of

   Classified Documents Discovered at Locations Including the Penn Biden Center and the Delaware

   Private Residence of President Joseph R. Biden, Jr. (Feb. 2024); see also Trump v. Vance, 591 U.S.

   786, 803 (2020) (noting that then-President Trump had “concede[d]—consistent with the position

   of the Department of Justice—that state grand juries are free to investigate a sitting President with

   an eye toward charging him after the completion of his term”). Just as a sitting President can be

   required to defend a civil suit while in office, despite the burdens on his time, see Clinton v. Jones,



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   520 U.S. 681 (1997), so too can a president-elect be the subject of a report despite any conceivable

   distraction the report might cause. In this situation, “trial, judgment, and imprisonment” are not

   on the line. Trump v. United States, 603 U.S. 593, 613 (2024).

           For similar reasons, President Trump cannot claim immunity based on his status as a former

   President. As the established history of investigations of sitting Presidents confirms, there is no

   constitutional principle that would bar the compilation or release of a report detailing the conduct

   of a past or current President.

       B. The President-elect Does Not Need to Become a Party to this Case to Protect the
          Interests Asserted in the Motion for Leave to Intervene.

           The Motion for Leave to Intervene also relies on the standard stated by the Seventh Circuit

   Court of Appeals in United States v. Blagojevich, 612 F.3d 558 (7th Cir. 2010), i.e. that “courts

   have permitted intervention when the potential intervenor has a legitimate interest in the outcome

   and cannot protect that interest without becoming a party.” See Mot. at 3 (quoting same). The

   Motion for Leave to Intervene asserts that President-elect Trump has such an unprotectable interest

   here, but that is not so.

           As an initial matter, as explained above, even if the President-elect has some interest in

   limiting disclosure of Volume Two of the Special Counsel’s Report, he need not intervene in this

   criminal case against Defendants Nauta and De Oliveira to vindicate that interest. Any disclosure

   of Volume Two will be the result of action by the Department of Justice separate from the

   prosecution of Defendants. No one is asking this Court to compel release of the Report. If the

   President-elect seeks to enjoin actions by the Department of Justice, to be taken outside of the

   prosecution of this case, he has a remedy—a civil lawsuit against the Department seeking relief.

   Because the President-elect has an alternative remedy to seek to protect his interests, intervention

   here is not permissible.

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          Indeed, as reflected in this Court’s January 13, 2025 Order, this Court does not have

   authority to provide the relief the President-elect seeks. See ECF No. 697 at 2–3. The President-

   elect has no criminal case pending against him. The United States moved to dismiss the appeal of

   this Court’s dismissal of the indictment as to him, and the Eleventh Circuit granted that motion.

   The present case is thus closed as to the President-elect. This Court therefore has no basis to

   provide him with relief. There is therefore no basis to grant intervention.

                                         CONCLUSION

          For all these reasons, this Court should deny the Motion for Leave to Intervene. The

   government does not object to the alternate relief sought by the President-elect, to have the Court

   accept his filing as amicus submission.

                                                 Respectfully submitted,

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   January 16, 2025




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                                      CERTIFICATE OF SERVICE

          I hereby certify that on January 16, 2025, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission

   of Notices of Electronic Filing.


                                         /s/ Elizabeth J. Shapiro
                                         Elizabeth J. Shapiro




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